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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                EASTERN DIVISION

UNITED STATES OF AMERICA,

VS.                                             CRIMINAL ACTION NO. 1:06CR74-P-D

SHARINA SMITH, ET AL.,                                                          DEFENDANTS.

                                   FOURTH CONTINUANCE


         This matter comes before the court upon Defendant Sharina Smith’s Motion for Continuance

[120-1]. After due consideration of the motion, the court finds as follows, to-wit:

         Trial is currently set for November 13, 2006. Defense counsel avers that he needs a

continuance due to another previously scheduled trial on the same date in Monroe County Circuit

Court.

         The Government has no objection to the continuance.

         The above circumstances enable the Court to exclude, pursuant to 18 U.S.C. section

3161(h)(8)(A), the period of delay from August 28, 2006 until the new trial date to be set in this

matter. The time is excludable under subsection (h)(8)(A) because, given the circumstances

described above, a continuance is necessary to afford the defendant’s counsel more time to

adequately prepare for his client’s defense. As such, the ends of justice served by the granting of this

continuance outweigh the best interests of the public and the defendant in a speedy trial.

         IT IS THEREFORE ORDERED AND ADJUDGED that:

         (1) Defendant’s Motion for Continuance [120-1] is hereby GRANTED;

         (2) Trial of this matter is continued as to Defendant Sharina Smith until Tuesday, January



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       30, 2007 at 9:00 a.m. in the United States Courthouse in Greenville, Mississippi;

       (3) The delay from November 13, 2006 to January 30, 2007 is excluded from Speedy Trial

Act considerations as set out above;

       (4) The deadline for filing pretrial motions is January 8, 2007; and

       (5) The deadline for submitting a plea agreement is January 16, 2007.

       SO ORDERED this the 6th day of November, A.D., 2006.


                                                     /s/ W. Allen Pepper, Jr.
                                                     W. ALLEN PEPPER, JR.
                                                     UNITED STATES DISTRICT JUDGE




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